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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                        at Greenbelt
                                In re:    Case No.: 18−20166 − WIL          Chapter: 7

Robert Oran Rice Jr. and
Melissa Leigh Rice
Debtors

                                 NOTICE OF NON−COMPLIANCE
                              AND OF POSSIBLE DISMISSAL OF CASE


WARNING − The Trustee in your case has notified the Court that the debtor has not provided:

          A copy of the pay advices to the trustee pursuant to § 521(a)(1)(B)(iv) of Title 11 U.S.C.
          and Local Bankruptcy Rule 1007−4 , and

          A copy of the Federal income tax return to the trustee pursuant to § 521(e)(2)(A) of Title 11 U.S.C.

Accordingly, you have 14 days from the date of this notice to respond before the Court makes a decision on the
dismissal of this case.

Do not file copies of payment advices or Federal income tax returns with the Court. Payment advices and tax
returns are to be provided to the trustee.

Dated: 8/30/18
                                                            Mark A. Neal, Clerk of Court
                                                            by Deputy Clerk, Todd Sukeena
                                                            410−962−4072


cc:   Debtor
      Attorney for Debtor − Daniel J. Guenther
      Case Trustee − Steven H Greenfeld
      U.S. Trustee
      All Creditors

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